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                                       Jackson Superior Court 1                              Jackson County, Indiana




STATE OF INDIANA              )                         IN THE JACKSON SUPERIOR COURT
                              ) SS:
COUNTY OF JACKSON             )                         CAUSE NO._________________________

ANITA JACOBS,                                 )
                                              )
              Plaintiff,                      )
                                              )
              v.                              )
                                              )
JACKSON COUNTY SHERIFF and                    )
CITY OF SEYMOUR,                              )
                                              )
              Defendants.                     )


                                         COMPLAINT

       Plaintiff alleges against Defendant as follows:

   1. The Plaintiff is Anita Jacobs, a former prisoner of the Jail in Fort Wayne Indiana.

   2. The Defendant includes Jackson County Sheriff ______________, who is named in his

       official capacity pursuant to 42 U.S.C. § 1983. At all material times to this Complaint,

       the Sheriff was responsible for the policies, practices, procedures, and customs in effect at

       the Jackson County Sheriff’s Department and Jackson County Jail, and/or the Sheriff failed

       to adequately train his personnel, which caused:

          a. Jackson County Jail personnel subjected the Plaintiff to an unreasonable strip

              search in violation of her federally protected right to be free from unreasonable

              searches under the Fourth Amendment to the United States Constitution and 42

              U.S.C. § 1983, and in violation of the Plaintiff’s due process rights under the

              Fourteenth Amendment to the United States Constitution and § 1983;

          b. Jackson County Jail personnel over-detained the Plaintiff at the Jail, in violation


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                                                                                 Exhibit A
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               of her right to be free from unreasonable seizure under the Fourth and/or

               Fourteenths Amendments to the United States Constitution and 42 U.S.C. § 1983;

           c. Jackson County Sheriff’s personnel unlawfully seized, retained then destroyed the

               Plaintiff’s vehicle, in violation of her rights under Fourth and/or Fourteenths

               Amendments to the United States Constitution and 42 U.S.C. § 1983;

   3. The Jackson County Sheriff, along with the City of Seymour Indiana, are named in their

       representative capacity for the state torts of false arrest/false imprisonment, and

       theft/conversion committed by their personnel against the Plaintiff.

   4. On February 21, 2017, Plaintiff issued a Tort Claim Notice, a copy of which is attached

       hereto, made a part hereof and incorporated herein as Exhibit “A”.             All available

       administrative remedies have been exhausted and all jurisdictional prerequisites have been

       met for the filing of this lawsuit.

   5. On September 7, 2016, Plaintiff and her boyfriend were seized, detained, arrested and taken

       to the Jackson County Jail. Plaintiff’s car was also seized by Jackson County Sheriff’s

       and/or City of Seymour officers.

   6. At the time of the Plaintiff’s arrest, as well as at the time of the Plaintiff’s booking at the

       jail, there was no probable cause or reasonable suspicion to believe that she had hidden

       weapons or contraband on or in her body or in her clothes.

   7. Nevertheless, Jackson County Jail personnel performed a complete strip search and cavity

       search of the Plaintiff. No strip search was performed upon the Plaintiff’s boyfriend, even

       though police had detained both of them at the same time from her home. Adding to the

       Plaintiff’s degradation, the strip search was performed by a male jail officer and without


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       female jail personnel present.

   8. By information and belief, Plaintiff was then held at the jail more than 48 hours following

       her arrest, without having received a timely probable cause determination from a judge.

       No warrants were pending against her at the time of the detention and arrest.

   9. Upon the Plaintiff’s release from the Jackson County Jail, Plaintiff contacted the Sheriff’s

       Department in an effort to regain possession of her car. Initially she was told she would

       have to pay $400.00 to get the car back, and then later was told $1,200.00. Then finally

       she was told that she could not have the car back at all, because it had been destroyed by

       the City of Seymour Police Department or Jackson County Sheriff’s Department.

   10. Plaintiff contends that she was a pretrial detainee at the time of her strip search, and that

       the strip search was unreasonable under the circumstances, subjecting her to an

       unreasonable search in violation of her federally protected rights under the Fourth

       Amendment to the United States Constitution and 42 U.S.C. § 1983.

   11. Plaintiff also alleges that her strip search violated her right to equal protection under the

       Fourteenth Amendment to the United States Constitution and 42 U.S.C. § 1983, in that she

       was a female subjected to the innately intrusive and humiliating strip search, while by

       information and belief similarly situated male prisoners at the Jackson County Jail were

       not routinely subjected to strip searched under the same or substantially the same

       circumstances as the Plaintiff.

   12. Plaintiff contends that the Jackson County Sheriff’s policies, practices, procedures, and/or

       customs pertaining to the search of prisoners, and/or his failure to adequately train his

       personnel resulted in :


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            a. Plaintiff being subjected to an unreasonable search in violation of her rights under

                the Fourth and Fourteenth Amendments to the United States Constitution and 42

                U.S.C. § 1983.

            b. Plaintiff’s over- detention at the Jackson County Jail;

            c. Plaintiff’s vehicle being unlawfully seized, retained, then destroyed.

    13. The wrongful actions and omissions of the Defendants, by and through their personnel/

        employees/officers, were the direct and proximate cause of the Plaintiff suffering

        embarrassment, humiliation, degradation, inconvenience, mental anguish, anxiety,

        emotional distress, and other damages and injuries.

        WHEREFORE, Plaintiff respectfully requests judgment against the Defendants, for

compensatory damages, reasonable attorney fees and costs, and for all other just and proper relief

in the premises.

                                        JURY DEMAND

        Pursuant to Rule 38 of the Indiana Rules of Trial Procedure, Plaintiff demands a trial by

jury in this action.


                                                      Respectfully submitted,

                                                      CHRISTOPHER C. MYERS & ASSOCIATES



                                                      /s/ Christopher C. Myers
                                                      Christopher C. Myers, #10043-02
                                                      809 South Calhoun Street, Suite 400
                                                      Fort Wayne, IN 46802
                                                      Telephone:     (260) 424-0600
                                                      Facsimile:     (260) 424-0712
                                                      E-mail:        cmyers@myers-law.com
                                                      Counsel for Plaintiff

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